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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN

 ACTS 17 APOLOGETICS, et al.,
                                                     Case No. 2:11-cv-10700-SJM-RSW
              Plaintiffs,
                                                     VOLUNTARY DISMISSAL
       v.
                                                     Hon. Stephen J. Murphy, III
 CITY OF DEARBORN, et al.,
                                                     Mag. Judge Steven Whalen
              Defendants.


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______________________________________________________________________________

       Plaintiffs Acts 17 Apologetics, Dr. Nabeel Qureshi, David Wood, Paul Rezkalla, and

Joshua Hogg (“Plaintiffs”), through their undersigned counsel; Defendants City of Dearborn,

John B. O’Reilly, Ronald Haddad, Jeffrey Mrowka, Brian Kapanowski, Justin Smith, Andrew


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Ballard, Jarod Micallef, Mark Matteocci, A. Fawaz, Robert Gafford, Russ Faith, Brandon

Nichols, Christopher Urbanic, David Lacey, Cameron Switzer, Jason Smith, and Robert Smith,

(“City Defendants”), through their undersigned counsel; and Defendants Fay Beydoun, Norma

Haidous, and the American Arab Chamber of Commerce, through their undersigned counsel

(“Chamber Defendants”) (collectively referred to as the “parties”), hereby stipulate to the

dismissal of this action with prejudice pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of

Civil Procedure.

       The parties are responsible for their own costs as a result of this dismissal.

       AMERICAN FREEDOM LAW CENTER                                   CORPORATE COUNSEL,
                                                                     CITY OF DEARBORN

By:    /s/ Robert J. Muise                                    By:    /s/ Laurie M. Ellerbrake
       Robert J. Muise, Esq.                                         Laurie M. Ellerbrake, Esq.
       David Yerushalmi, Esq.                                        Counsel for City Defendants
       Counsel for Plaintiffs

       THOMAS MORE LAW CENTER                                        PLUNKETT COONEY

By:    /s/ Erin Mersino                                       By:    /s/ Thomas P. Vincent
       Erin Mersino, Esq.                                            Thomas P. Vincent, Esq.
       Counsel for Plaintiffs                                        Counsel     for    Chamber
                                                                     Defendants




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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 29, 2013, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to all parties for whom counsel has entered an appearance by

operation of the court’s electronic filing system. Parties may access this filing through the

court’s system.

                             AMERICAN FREEDOM LAW CENTER

                             /s/ Robert J. Muise
                             Robert J. Muise, Esq. (P62849)




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